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Notice of Non-renewal of Master Vessel Charter

Charterer:
BP Exploration & Production Inc.
501 WestLake Park Boulevard

Houston, Texas 77079

Project: Mississippi Canyon (MC-252}

Hoi Nguyen
15217 Lisa Dr
Biloxi, MS 39532

Master Vessel Charter Agreement No.: 58060
Vessel Name: My Angel Il
Vessel Location: Point Cadet

Dear Vessel Owner:

Please be advised that pursuant to the terms of the Master Vessel Charter Agreement (“MVCA”), BP is
providing this “Off Hire Dispatch Notification” which terminates the MVCA immediately as of the date

noted below.

if you have not had your vessel properly decontaminated and an off-hire survey performed please
immediately contact your local Vessel of Opportunity coordinator to schedule your off-hire survey and

decontamination as soon as possible.

Please submit your final invoices within (thirty-five) 35 days of the date on this Notice. Failure to timely

submit your invoice({s) may result in delayed or non-payment.

We at BP would like to thank you for your efforts in supporting this response.

Sincerely,
BP Exploration & Production, Inc. (Charterer):

CWanbette Drompoon!

Charlotte A. Thompson
VOO Logistics Branch Director
Termination Date: August 27, 2010

